            Case 2:20-cr-00119-TOR        ECF No. 20       filed 10/02/20     PageID.94 Page 1 of 3
 PROB 12C                                                                            Report Date: October 2, 2020
(6/16)

                                      United States District Court                             FILED IN THE
                                                                                           U.S. DISTRICT COURT
                                                                                     EASTERN DISTRICT OF WASHINGTON

                                                     for the
                                                                                      Oct 02, 2020
                                       Eastern District of Washington                     SEAN F. MCAVOY, CLERK



                   Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Lawrence Williams                           Case Number: 0980 2:20CR00119-TOR-1
 Address of Offender: 1428 North Lincoln Street, Spokane, Washington 99201
 Name of Sentencing Judicial Officer: The Honorable Benjamin H. Settle, U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: August 23, 2010
 Original Offense:       Conspiracy to Distribute Cocaine Base, 21 U.S.C. §§ 841 (a)(1), (b)(1)(B) and 846

                         Witness Tampering, 18 U.S.C. § 1512(b)(1), (b)(2)(A), (b)(2)(B) and (b)(3)
 Original Sentence:      Prison - 108 months                   Type of Supervision: Supervised Release
                         TSR - 60 months

 Sentence Reduction:     Prison - Time Served (87 months)
 (November 1, 2015)      TSR - 60 months
 Asst. U.S. Attorney:    Timothy John Ohms                     Date Supervision Commenced: February 26, 2019
 Defense Attorney:       J. Houston Goddard                    Date Supervision Expires: October 30, 2020


                                         PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 09/18/2020.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

             3          Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: It is alleged that Mr. Williams violated his supervised release by
                        committing second degree theft of a vulnerable adult on or about August 31, 2020, in
                        violation of R.C.W. 9A.56.400.

                        On March 7, 2019, a U.S. probation officer reviewed all mandatory, standard, and special
                        conditions set forth in Mr. Williams’ judgment. He signed his judgment acknowledging an
                        understanding of his conditions of supervision.
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                       On October 1, 2020, the undersigned officer had a telephone conversation with a detective
                       with the Spokane Police Department who was investigating Mr. Williams, a/k/a Mikaeel
                       Azeem, for second degree theft of a vulnerable adult, case number 2020-10160607. The
                       detective indicated that on or about August 31, 2020, Mr. Williams had met the victim and
                       discovered she had a payee, as she was unable to manage her own funds as determined by
                       the Social Security Administration. This was based on her substance abuse and mental health
                       issues. The victim is alleged to have stayed at Mr. Williams’ home for approximately 3
                       days.

                       Mr. Williams contacted the payee by phone and emails, disguising himself as a Phoenix
                       Counseling employee. Mr. Williams was living in a home for sex offenders owned by
                       Phoenix Counseling. Mr. Williams indicated Phoenix Counseling Services had been
                       providing the victim with meals and lodging and wanted reimbursement. The payee sent a
                       check made payable to Mikaeel Azeem/ Phoenix Counseling on September 2, 2020, in the
                       amount of $2,450. According to the detective, the check was cashed on September 8, 2020.

                       The payee later learned Mr. Williams was not an employee of Phoenix Counseling, but in
                       fact a member of their sex offender program.

                       The detective also informed the undersigned officer that post Miranda warning, Mr.
                       Williams agreed to talk to the detective and admitted to the alleged criminal conduct. The
                       detective indicated charges for second degree theft of a vulnerable adult will be filed very
                       shortly.

The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this petition
in future proceedings with the violation(s) previously reported to the Court.

                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:      10/02/2020
                                                                              s/Corey M. McCain
                                                                              Corey M. McCain
                                                                              U.S. Probation Officer
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 THE COURT ORDERS

 [ ]       No Action
 [ ]       The Issuance of a Warrant
 [ ]       The Issuance of a Summons
 [X]       The incorporation of the violation(s) contained in this
           petition with the other violations pending before the
           Court.
 [X ]      Defendant to appear before the Judge assigned to the
           case.
 [ ]       Defendant to appear before the Magistrate Judge.
 [X]       Other : All pending alleged violations of supervised
                  release will be heard at the revocation
                  hearing scheduled for 10/6/2020.                    Thomas O. Rice
                                                                      United States District Judge
                                                                      October 2, 2020
                                                                      Date
